Case 2:07-md-01873-KDE-MBN Document 14474 Filed 06/22/10 Page 1 of 3 /0 WG
Case 2:09-cv-03620-KDE-ALC Document 8 Filed 04/20/09 Page 5 of 6

Sh AQ 440 (Rey 04/08). Civil Samm 0

UNITED STATES DISTRICT COURT
for the

Middle District of Louisiana

Emestine Saul, et, al

Plaintiff

v.
Keystone RV Company, et, al
Defendant

Civil Action No. 09-cy-210

naet “wa? Nat el Me?

Summons in a Civil Action

To: (Defendant's name and address)
Honorable Mielisel Mukasey 22/0 Hoc pe?
US Department of Justice
950 Pennsylvania Ave., NW
Washington, DC 20530

A lawsuit has been filed against you.

Within 60 days after service of this summons on you (not counting the day you received it), you must serve

on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The
answer or motion must be served on the plaintiff's attorney, whose name and address are:

Justin I Woods, Gainsburgh, Benjamin, David, Maunier & Warshauer, L.L.C. 2800 Energy Centre, 1100 Poydras St.
New Orleans, LA 70163

If you fail to do so, judgment by default will be entered against you for the relief demanded in the complaint. You also
must file your answer or motion with the court.

Nick J. Lorio
Name of clerk of court

Nivols' R. dings

Deputy clerk's signature

Date: ___ April 20, 2009

Use 60 t i
& MOOS he defendant is the United States or a United States agency, or is an officer or employee of the United States allowed 60 days by
Case 2:07-md-01873-KDE-MBN Document 14474 Filed 06/22/10 Page 2 of 3
(Case 2:09-cv-03620-KDE-ALC Document 8 Filed 04/20/09 Page 6 of 6

& AO 440 (Rev. 04/08) Civil Semmons (Page 2)

Proof of Service

I declare under penalty of perjury that 1 served the summons and complaint in this case on

by:

(1) personally delivering a copy of each to the individual at this place,

; Or
(2) leaving a copy of each at the individual’s dwelling or usual place of abode with
who resides there and is of suitable age and discretion; or
(3)delivering a copy of each to an agent authorized by appointment or by law to receive it whose name is
3 Or

(4)returning the summons unexecuted to the court clerk on ; or

(S)other (speetiy
My fees are $ for travel and $ for services, for a total of $ 0.00
Date:

Server's signature
Printed name and title

Server's address
UNITED StaTEs PosTaAL SERVICE

Hl

Case 2:07-md-01873-KDE-MBN Document 14474 Filed 06/22/10 Page 3of3 |

Pipe Cless Mail
oStage & Fees Paj
USPS” es Paid

Permit No. G-10

*® Sender: Please print your name, address, and ZIP+4 in this box ¢

Justin Woods
Gainsburgh, Benjamin, David, Me
1100 Poydras Street, Suite 2800
New Orleans, Louisiana 70163

Formaldehyde 09-3620 Ernestine Saul

unier & Warshauer, L.L.C.

po} [b] Store) Way ry oc) ex sey

& Complete Items 1, 2, and 3. Also complete
item 4 If Restricted Delivery Is desired.

@ Print your name and address on the reverse
so that we can return the card to you.

@ Attach this card to-the back of the mailplece,
or on the front If space permits.

1. Article Addressed to:

Eric Holder, U. S. Attorney General
U.S. Department of Justice

950 Pennsylvania Avenue, NW
Washington, DC 20530-0001

ele eM =ars eyey oy gfe) He) ae) 8h A

A. Signature
X

DD Agent
OO Addressee

B. Received by ( Printed Name) C. Date of Delivery

If YES, enter delivery address below:

, AO\S
\ qr be

D. Is delivery address different fromitem 1? 01 Yes

No

3. Service Type
CI Certifled Mail ©] Express Mail

C1 Insured Mail O1C.0.D.

CZ Registered C1 Return Receipt for Merchandise

4. Restricted Delivery? (Extra Fee) OD Yes
2. Article Number ,
(Transfer from service lab 7008 1630 GOO4 14197 2317
PS Form 3811, February 2004 Domestic Return Receipt 102595-02-M-1540

